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                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION
UNITED STATES OF AMERICA                    §
                                            §
vs.                                         § CRIMINAL NO: SA:18-CR-00435(3)-XR
                                            §
(3) BRANDON MORRIS                          §
                                      ORDER AMENDING
                                     SCHEDULING ORDER

       The matters before the Court is the status of this case.                In light of the current

Presidentially declaed national emergency due to COVID-19 and considering Chief Judge

Orlando Garcia's exigent circumstances orders dated March 13, 2020, March 16, 2020 and the

Supplemental Order Regarding Court Operations entered on April 15, 2020, May 8, 2020, June

18, 2020, July 2, 2020, August 6, 2020, September 21, 2020, October 14, 2020, November 18,

2020, December 10, 2020, January 7, 2021 and February 2, 2021 which are incorporated by

reference:

        www.txwd.uscourts.gov/wp-content/uploads/2020/03/Order-Re-COVID-19.pdf;

www.txwd.uscourts.gov/wp-content/uploads/2020/03/ORDER-re-Grand-Jury-Proceedings-031620.pdf;www.txwd.

uscourts.gov/wp-content/uploads/2020/03/SupplementalOrderCOVID19-041520.pdf;

www.txwd.uscourts.gov/wp-content/uploads/2020/03/SupplementalOrderCOVID19%20050820.pdf;

www.txwd.uscourts.gov/wp-content/uploads/2020/03/SupplementalOrderCOVID61820.pdf;

www.txwd.uscourts.gov/wp-content/uploads/2020/07/SupplementalOrderRegardingCourtOperationsUnderTheEx

igentCircumstancesCreatedByTheCovid19Pandemic.pdf.

www.txwd.uscourts.gov/wp-content/uploads/2020/03/SeventhSupplementalOrderCOVID080620.pdf,

www.txwd.uscourts.gov/wp-content/uploads/2020/03/OLGEighthSuppCOVIDOrder92120.pdf;

www.txwd.uscourts.gov/wp-content/uploads/2020/03/NinthSuppCovidOrder101420.pdf;

www.txwd.uscourts.gov/wp-content/uploads/2020/11/OLGOrderTenthSupplementalCOVID11820.pdf;http//www.t

xwd.uscourts.gov/wp-content/uploads/2020/12/OrderEleventhSupplementalCOVID121020.pdf.;http//www.txwd.u
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scourts.gov/wp-content/uploads/2021/01/OrdertwelfthSupplementalCOVID010721.pdf.http//www.txwd.uscourts.g

ov/wp-content/uploads/2021/02/ThirteenthSupplementalOrderCOVID020221.pdf. It is   hereby Ordered that

speedy trial be tolled in this case. In fact, considering the exigent circumstances created by the

COVID-19 Pandemic, the severity of the risks to those who would otherwise be required to work

in close quarters absent a continuance, and the public-health matters that weigh in favor of

reducing the size of public gatherings and travel, the Court finds that the best interest of the

public are served by this continuance.

        Further, in considering the facts and findings in the Western District of Texas' Orders

Regarding Court Operations Under the Exigent Circumstances Created By the COVID-19

Pandemic, and the factors the Court listed in 18 U.S.C. 3161(h)(7)(B), the Court finds that the

Ends of Justice are served by continuing the proceedings and that those factors outweigh the best

interest of the public and defendant in a speedy trial.

        IT IS THEREFORE ORDERED that the period between March 22, 2021 and April

26, 2021 is a reasonable period of necessary delay to allow counsel time for preparatiion for trial

and further finds that such period shall be excluded from the time within which the defendant

must be brought to trial and the Ends of Justice served by taking such action outweighs the best

interest of the public and the defendant in a speedy trial under the Speedy Trial Act pursuant to

Title 18, United States Code, Section 3161(h)(7)(A).

        IT IS FURTHERED ORDERED that this case will proceed on the following amended

schedule:

        Pursuant to Federal Rules of Criminal Procedure 11(c) and holding of the Fifth
        Circuit Court of Appeals in United States of America v. Ellis, 547F.2d 863 (5th
        Cir. 1977), the deadline for notifying the Court of any PLEA AGREEMENT
        entered into by the parties in this cause is Friday, April 2, 2021. No plea
        agreement entered into after that date will be honored by this Court without good
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       cause shown for the delay.

       DOCKET CALL or REARRAIGNMENT and PLEA are set for Thursday,
       April 15, 2021 at 1:30 P.M., in Courtroom 3 of the John H. Wood, Jr., United
       States Courthouse, 655 E. Cesar Chavez Boulevard., San Antonio, Texas.
       Proposed jury instructions, voir dire, and motions in limine shall be filed by
       Friday, April 09, 2021.

       JURY SELECTION AND TRIAL are set for April 26, 2021 at 9:30 A.M., in
       Courtroom 3 of the John H. Wood, Jr., United States Courthouse, 655 E. Cesar
       Chavez Boulevard, San Antonio, Texas.

       AS A REMINDER TO THE ATTORNEY FOR DEFENDANT:

       If your client is in custody, arrangements should be made with the U.S. Marshal Service

prior to the date of jury selection and trial to ensure your client has proper attire. In addition,

whenever defendants or witnesses have a need for the services of the Court Interpreter, please

notify the Courtroom Deputy no later than five (5) days before this court setting.

       The Clerk of Court shall send a copy of this order to the United States Attorney, attorney

for the defendant, United States Marshal, United States Probation Officer, and Pretrial Services

Officer. Counsel for defendant will notify the defendant of this setting, and if the defendant

is on bond, advise the defendant that he or she must be present for all court settings unless

excused by the Court. All inquiries pertaining to this Scheduling Order should be directed to

Sylvia Ann Fernandez, Courtroom Deputy for Judge Xavier Rodriguez, at (210) 244-5011.

       Signed this 8th day of February, 2021.



                                                ______________________________
                                                XAVIER RODRIGUEZ
                                                UNITED STATES DISTRICT JUDGE
